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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     GEORGE BARICH, et al.,                             Case No. 21-cv-00034-EMC
                                   8                    Plaintiffs,
                                                                                            FINAL PRETRIAL CONFERENCE
                                   9             v.                                         ORDER
                                  10     CITY OF COTATI, et al.,
                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




                                  13

                                  14                         I.         TRIAL DATE AND LENGTH OF TRIAL

                                  15          The jury trial shall begin on Monday, February 6, 2023. Trial shall commence that day

                                  16   and run up to 5:00 p.m. Jury selection shall take place on the first day. Counsel shall be present

                                  17   in the Courtroom at 8:00 a.m. to discuss any anticipated disputes. The Court strongly discourages

                                  18   side bars. The Court intends to seat eight jurors.

                                  19          Trial shall last from 8:30 a.m. to 2:00 p.m. on each day, except for Thursdays, which are

                                  20   dark. On all trial days counsel shall be present in the Courtroom at 8:15 a.m. to discuss any

                                  21   matters requiring resolution prior to commencement of trial at 8:30 a.m. Each session will last 90

                                  22   minutes. Breaks will be 15-20 minutes.

                                  23          The Court will impose a vaccination requirement on jurors. The parties indicated their

                                  24   agreement with this at the pretrial conference. The jurors will be socially distanced. All trial

                                  25   participants, including jurors and counsel, will be required to wear masks except for the testifying

                                  26   witness and questioner. The parties and their counsel shall certify they and their witnesses are

                                  27   either fully vaccinated or have tested negative on a rapid COVID test immediately before entering

                                  28   the courtroom.
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                                   1          The trial shall last for four days. Each side will have 8 hours of trial time present their

                                   2   evidence (on direct and cross), including voir dire, opening statements, and closing argument.

                                   3   Any discovery sought to be admitted must be read (or played if video) into evidence.

                                   4          Parties are scheduled to participate in settlement negotiations with Judge Spero on January

                                   5   5, 2023 and are urged to settle this case.

                                   6                II.      ADVANCED NOTICE OF WITNESSES AND EXHIBITS

                                   7          Each party shall provide two court days (48 hours excluding weekends) in advance for

                                   8   notice of witnesses and exhibits to be called each trial day. The Court reserves the authority to

                                   9   exclude witness for non-compliance.

                                  10          All objections to witnesses and exhibits must be filed with the Court at least one court day

                                  11   (24 hours) before the witness is scheduled to testify. The Court will address objections at 8:00

                                  12   a.m. on the following day. All objections should be provided in writing and filed with the Court,
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                                  13   and a courtesy copy should be given to chambers immediately.

                                  14          Should a party fail to have enough witnesses to complete the trial day, the Court shall

                                  15   charge the surplus time remaining on that day against the party’s total allotted time. For instance,

                                  16   if a party concludes a witness’s examination with an hour remaining in the day and is not prepared

                                  17   to call another witness, then the Court will subtract that hour from the party’s allotted hours.

                                  18                                          III.    WITNESSES

                                  19   A.     Plaintiffs

                                  20          Plaintiffs have identified the following individuals as witnesses they may call in their case-

                                  21   in-chief. See Docket No. 90 Exh. B.

                                  22          (1) George Barich (Plaintiff)

                                  23          (2) Laurie Alderman (Plaintiff)

                                  24          (3) John Dell’Osso (Defendant)

                                  25          (4) Robert B. Skye (expert)

                                  26          (5) Jeffery B. Larsen (expert)

                                  27   B.     Defendants

                                  28          Defendants have identified the following individuals as witnesses they may call in their
                                                                                         2
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                                   1   case-in-chief. See Docket No. 90 Exh. C.

                                   2          (1) Laurie Alderman (Plaintiff)

                                   3          (2) George Barich (Plaintiff)

                                   4          (3) John Dell’Osso (Defendant)

                                   5          (4) Damien O’Bid

                                   6          (5) Robin Donoghue

                                   7          (6) Lauren Berges

                                   8          (7) J.P. Harries

                                   9          (8) Scott Huber (expert)

                                  10          (9) Michael Parish

                                  11                                   IV.      MOTIONS IN LIMINE

                                  12   A.     Plaintiff’s Motion in Limine No. 1 (Docket No. 92)
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                                  13          Plaintiffs request that the Court exclude expert testimony provided by Defendant’s expert

                                  14   and attorney Mr. Scott Huber, specifically his statements that:

                                  15                  •   Ms. Alderman “did not attempt to utilize her own time slot to
                                                          read the comments of Mr. Barich;”
                                  16
                                                      •   “Plaintiff Alderman was not prevented in any way from
                                  17                      speaking as she desired during her allotted time slot at the
                                                          January 8 and 22, 2019 City Council meeting;”
                                  18
                                                      •   “Alderman made no attempt to read Plaintiff Barich’s comments
                                  19                      during her allotted time slot;”
                                  20                  •   “The behavior of the City Council and City staff in relation to
                                                          the Plaintiffs was in accordance with the customary and common
                                  21                      practice of public agencies in California during public
                                                          meetings;” and
                                  22
                                                      •   “Plaintiff Barich declined to engage in the process to find an
                                  23                      acceptable resolution with the City of Cotati or its staff members
                                                          to find alternative reasonable accommodations as required by the
                                  24                      ADA.”
                                  25   Docket No. 92 Exh. A (Expert Report of Scott Huber (“Huber Report”)). Plaintiffs argue that an

                                  26   attorney cannot masquerade as an expert to testify about his interpretation of events that are

                                  27   videotaped and the state of mind of those featured in the recording. Docket No. 92 (P’s Motion in

                                  28   Limine No. 1 (“P’s MIL No. 1”)) at 2 (citing Norse v. City of Santa Cruz, 629 F.3d 966, 979 (9th
                                                                                         3
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                                   1   Cir. 2010) (en banc)). Plaintiffs further argue that Mr. Huber’s conclusions about the substance of

                                   2   the video recordings—that Ms. Alderman did not ask or try to speak twice—contradict this

                                   3   Court’s earlier Order Denying D’s Motion to Dismiss. P’s MIL No. 1 at 1 (citing Docket No. 37

                                   4   (Order Denying D’s MTD)).

                                   5          Defendants argue that Mr. Huber’s expert testimony is reliably based on the video

                                   6   recordings, as well at Plaintiffs’ depositions and Mayor Dell’Osso’s deposition. D’s Opp. to P’s

                                   7   MIL No. 1 at 3. Defendants also argue that Mr. Huber is not bound that the characterization of the

                                   8   video recording set forth in the complaint or in the Court’s Order Denying D’s Motion to Dismiss.

                                   9   D’s Opp. to P’s MIL No. 1 at 3.

                                  10          The Court denies Plaintiff’s motion in limine to exclude Mr. Huber’s expert testimony on

                                  11   the common customs, practice, and rules of public agencies like the City Council. Mr. Huber is

                                  12   qualified as an expert under Rule 702 and has demonstrated a sufficiently reliable basis for his
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                                  13   expert opinion “on facts or data in the case that the expert has been made aware of or personally

                                  14   observed” under Rule 703, including his experience in training and working with city councils. In

                                  15   particular, he may testify consistent with his report that:

                                  16                  . . . As is common at public meetings, a party may speak during a
                                                      public meeting on any matter that is not listed on the agenda,
                                  17                  provided the subject is within the subject matter jurisdiction of the
                                                      public agency. A person may speak for themselves or for the benefit
                                  18                  of another person. However, the speaker is only allotted one time
                                                      slot to speak. It is the custom and practice of every public agency
                                  19                  with which I am familiar to allow a person only one time slot to
                                                      speak. . . . I am not aware of any public agency in California that
                                  20                  allows someone to speak for a third party during time allotted to the
                                                      third party, and also to speak again on the same agenda item during
                                  21                  a time slot allotted to the individual. Further, a person may not speak
                                                      multiple times for other people on the same agenda item. In
                                  22                  addition, public agencies do not allow individuals to share their time
                                                      or give it to another person.
                                  23

                                  24          However, to the extent Mr. Huber seeks to testify that “[i]t is my professional opinion that

                                  25   the City Council and staff members acted in a manner that is consistent with the custom and

                                  26   practice of other public agencies in the conduct of public meetings,” Huber Report ¶ 12, he must

                                  27   do so not based on his assessment and interpretation of the evidence from the hearings at issue, a

                                  28   matter which is within the province of the jury and for which Mr. Huber adds no particular
                                                                                          4
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                                   1   expertise – any such opinion must be framed as a hypothetical.

                                   2           As to the ADA, provided that Defendants lay a foundation as to Mr. Huber’s training or

                                   3   experience with hearing-related ADA accommodations, Mr. Huber may opine on common

                                   4   reasonable accommodations provided by cities where hearing-related barriers are encountered.

                                   5   See, e.g., Huber Report ¶ 14 (“Common alternatives in practice by public agencies are to relocate

                                   6   someone to a location where they can hear the speakers, for individuals to speak loudly, and to

                                   7   turn off I-IV AC and other building equipment to prevent mechanical noise.”).

                                   8           However, Mr. Huber is not permitted to draw, comment on, draw inferences from, or make

                                   9   factual conclusions about what occurred at the recorded City meetings or the state of mind of Mr.

                                  10   Barich or Ms. Alderman with respect to the denial of permission to read Mr. Barich’s statement or

                                  11   on the ADA issue. As noted above, those are matter within the province of the jury. Res. Def.

                                  12   Council v. Rodgers, No. CIV-S-88-1658 LKK, 2005 WL 1388671, at *1 n.2 (E.D. Cal. June 9,
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                                  13   2005) (“Motions in limine address evidentiary questions and are inappropriate devices for

                                  14   resolving substantive issues.”)); C & E Servs., Inc. v. Ashland Inc., 539 F. Supp. 2d 316, 323

                                  15   (D.D.C. 2008) (“[A] motion in limine should not be used to resolve factual disputes or weigh

                                  16   evidence.”). Mr. Huber has no special expertise to interpret as a factual matter the events in the

                                  17   video recording. Thus, Mr. Huber’s statements such as that Ms. Alderman “did not attempt to

                                  18   utilize her own time slot to read the comments of Mr. Barich,” “Plaintiff Alderman was not

                                  19   prevented in any way from speaking as she desired during her allotted time slot at the January 8

                                  20   and 22, 2019 City Council meeting,” “Alderman made no attempt to read Plaintiff Barich’s

                                  21   comments during her allotted time slot,” and “Plaintiff Barich made no attempts to request

                                  22   reasonable alternative accommodations, and insisted that postponement and relocation of the

                                  23   meeting was the only acceptable accommodation to him” are inadmissible.

                                  24           Contrary to Plaintiffs’ arguments, simply because a video recording exists does not

                                  25   preclude all of Mr. Huber’s expert testimony.1 The jury may view the videos and draw their own

                                  26
                                       1
                                  27     Norse does not obligate the Court to find otherwise. Plaintiffs cite the concurring opinion, which
                                       states that the judge would have been “happy to allow” the video of the incident “speak for itself.”
                                  28   P’s MIL No. 1 at 2–3; Norse v. City of Santa Cruz, 629 F.3d 966, 979 (9th Cir. 2010). Notedly,
                                       the concurring opinion does not invoke the video recording in order to exclude expert testimony
                                                                                        5
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                                   1   conclusions from the video recordings of the original events.

                                   2          Thus, the Court DENIES the motion in limine and permits Mr. Huber’s expert testimony

                                   3   on the limited scope of the common customs, practice, and rules of city councils without weighing

                                   4   in upon the factual conclusions about the hearings at issue. Provided a foundation is laid, he may

                                   5   comment also upon common accommodations made for the hearing impaired.

                                   6   B.     Defendant’s Motion in Limine No. 1 (Docket No. 93)

                                   7          Defendants request that the Court exclude evidence of and reference to four incidents cited

                                   8   in Plaintiffs’ complaint—specifically, one incident in paragraph 22, one in paragraph 23, and two

                                   9   in paragraph 25:

                                  10                  •   22. This is not the first time the City has violated Barich’s civil
                                                          rights during and after City Council meetings. In 2014, the
                                  11                      City’s Chief of Police threatened to arrest Barich for exercising
                                                          his First Amendment rights, leading to a similar federal civil
                                  12                      rights action against the City and Chief Parish, Barich v. City of
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                                                          Cotati and Michael Parish, Case No. 3:15-CV-00350 VC, which
                                  13                      was settled in 2015 with the payment of $50,000 by the City to
                                                          Barich. At that time, the Court, the Honorable Vince Chhabria
                                  14                      presiding, said the Court was shocked at the City’s, and its
                                                          counsel’s, attitude toward the First Amendment. The Court
                                  15                      declined to order an injunction against the City but warned that
                                                          further violation of Barich’s First Amendment rights would
                                  16                      result in harsh consequences for the City. Undeterred by the
                                                          threat of further action, the City has continued to violate
                                  17                      Barich’s rights, including his right to Equal Protection.
                                  18                  •   23. In 2006, Barich had campaigned extensively against former
                                                          Cotati Mayor Lisa Moore’s campaign for re-election as Council
                                  19                      member. She lost. In 2007, then-private citizen John Moore,
                                                          husband of Lisa Moore, while clearly intoxicated, approached
                                  20                      Barich in the audience at a regularly scheduled City Council
                                                          meeting. Moore said, “Barich, I’m going run you out of town!”
                                  21                      An argument ensued, and then-Mayor Pat Gilardi told them both
                                                          to “knock it off or take it outside.”
                                  22
                                                      •   25. In July of 2017, during a City Council meeting, there was
                                  23                      discussion of additional cannabis industry business taxes in
                                                          Cotati. During public comment, Barich spoke against the tax. In
                                  24                      an attempt to intimidate and harass Barich, then-Council
                                                          member John Moore asked Barich, “Mr. Barich, are you still a
                                  25

                                  26
                                       regarding the incident featured; rather, it invokes the video recording as factual support for the
                                  27   judge’s conclusion that the city officials engaged in viewpoint discrimination and were not entitled
                                       to qualified immunity. Norse, 629 F.3d at 979. And neither it nor the majority opinion contain
                                  28   any holding that an expert’s testimony on a video recording should be excluded simply because a
                                       video recording exists. Id. at 978.
                                                                                          6
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                                                          grower?” The implication was false. Barich had never been a
                                   1                      “grower.” Later in 2017, in an obvious attempt to chill Barich’s
                                                          speech, Council member John Moore called Barich a “money
                                   2                      launderer” when Barich tried to speak toward the end of the
                                                          meeting during the public comment period. Again, the allegation
                                   3                      was false. Barich had never been charged with, nor convicted of,
                                                          the crime of money laundering. That same John Moore was duly
                                   4                      appointed Mayor of Cotati on December 8, 2020 and has
                                                          replaced Dell’Osso.
                                   5

                                   6   Docket No. 1 (Complaint). Defendants argue that these four incidents involve matters long since

                                   7   passed, factually disconnected from the issues in the present case, and of no probative value to the

                                   8   claims here. Docket No. 93 (D’s Motion in Limine No. 1 (“D’s MIL No. 1”)) at 7.

                                   9          Regarding paragraph 22, where the City settled with Mr. Barich after the City police chief

                                  10   threatened Mr. Barich and violated his First Amendment rights, the Court permits the parties to

                                  11   describe the high-level facts of the 2014 suit but not the details of the settlement or Judge

                                  12   Chhabria’s comments regarding the City’s behavior. The paragraph 22 incident is relevant under
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                                  13   Rule 401 and 402 because Mr. Barich asserts there is a long history of animosity and ill-will

                                  14   between the City and Mr. Barich, and this may be relevant to whether the City and Mr. Dell’Osso

                                  15   intended to violate Mr. Barich’s rights. Although it is unclear whether Mr. Dell’Osso was present

                                  16   during the 2014 incident, Mr. Dell’Osso was apparently aware of the lawsuit and the subsequent

                                  17   settlement. See D’s MIL No. 1 Exh. A at 1 (the minutes of City Council meeting of October 27,

                                  18   2015). It is therefore relevant to state of mind. This evidence is not barred under Rule 404(b).

                                  19   “Evidence of any other crime, wrong, or act is not admissible to prove a person’s character in

                                  20   order to show that on a particular occasion the person acted in accordance with the character,” but

                                  21   it “may be admissible for another purpose, such as proving motive, opportunity, intent,

                                  22   preparation, plan, knowledge, identity, absence of mistake, or lack of accident.” Fed. R. Evid.

                                  23   404(b)(1)–(2). The evidence about the lawsuit may be circumstantial evidence of the City’s

                                  24   “intent to discriminate and/or retaliate,” an exception to impermissible character evidence. The

                                  25   Court DENIES the motion in limine with respect to the high-level facts of the 2014 lawsuit,

                                  26   Defendants’ denial of the allegations, and the fact that the suit resolved in 2015. Evidence as to

                                  27   the deeper details will be barred under Rule 403. Evidence of the City’s eventual settlement with

                                  28   Mr. Barich is inadmissible under Rule 408. Judge Chhabria’s statement that he was shocked at the
                                                                                         7
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                                   1   City’s behavior is also inadmissible as hearsay and under Rule 403. The Court thus GRANTS the

                                   2   motion in limine with respect to the details of the settlement and Judge Chhabria’s comments.

                                   3          Regarding paragraph 23 and 25, involving John Moore’s interactions with Mr. Barich

                                   4   when he was a then-private citizen and then-Council member, the Court excludes this evidence.

                                   5   Defendants argue that the evidence is entirely irrelevant and would spawn mini trials regarding the

                                   6   facts of those incidents. D’s MIL No. 1 at 6–7. In their response brief, Plaintiffs agree to exclude

                                   7   this evidence: “Plaintiffs concede that the relevance is outweighed by the potential for the undue

                                   8   consumption of time and confusion on an arguably collateral matter. Mr. Moore did not preside

                                   9   over the meetings in question; nor did he vote to prevent the Barich statement from being read and

                                  10   whether to limit the accommodation offered to the ‘raise your hand’ option offered by Mr.

                                  11   Dell’Osso.” P’s Opp. to D’s MIL No. 1 at 2. The Court GRANTS the motion in limine with

                                  12   respect to paragraphs 23 and 25.
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                                  13   C.     Defendant’s Motion in Limine No. 2 (Docket No. 94)

                                  14          Defendants request that the Court exclude evidence of other Council meetings—other than

                                  15   the ones that were held on January 8, January 22, and March 27, 2019—at which some attendees

                                  16   allegedly spoke on behalf of others. Docket No. 94 (Defendant’s Motion in Limine No. 2 (“D’s

                                  17   MIL No. 2”)) at 2. The First Amended Complaint lists thirteen examples of meetings at which

                                  18   individuals allegedly spoke for others during the open comment period:

                                  19                  •   03/10/2010 Bob Haroch of Beyers-Costin for Colvin Group,
                                                          seeking development applications approvals;
                                  20
                                                      •   08/25/2015 Andrew Alderman for Laurie Alderman (Plaintiff);
                                  21
                                                      •   08/25/2015 Mr. Scott, Attorney for the Stanleys;
                                  22
                                                      •   10/27/2015 Mr. Scott for the Stanleys;
                                  23
                                                      •   10/26/2016 Neil Randolph & Guy Chambers of Colvin Group;
                                  24
                                                      •   03/28/2017 Neil Randolph of Colvin Group & Dave Brown of
                                  25                      Adobe Associates;
                                  26                  •   05/09/2017 Dalene Whitcock for Colvin Group;
                                  27                  •   06/13/2017 Robin Miller of 116 Investors, LLC;
                                  28                  •   06/27/2017 Aksel Dregelid of David Taussig and Associates;
                                                                                        8
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                                                          Guy Chamber for Colvin Group;
                                   1
                                                      •   09/12/2017 Nathan Perez for David Taussig and Associates;
                                   2
                                                      •   06/12/2018 Nick Caston with Kaya Management & Alta Supply;
                                   3                      Angelo Bertam with Eagle Eye, LLC; Craig Enyart,
                                                          Representative for 7950 Redwood Dr.;
                                   4
                                                      •   08/21/2018 Neil Randolph for Colvin Group;
                                   5
                                                      •   09/10/2019 Michael Ceremello (who did not identify himself
                                   6                      before speaking) for Ourania Riddle, a resident of Dixon,
                                                          regarding the choice to elect or appoint the City Clerk and City
                                   7                      Treasurer.
                                   8   Docket No. 22 (First Amended Complaint (“FAC”)) ¶ 19. Defendants argue that evidence of

                                   9   other City Council meetings is inadmissible because all but one do not pertain to Mr. Barich’s

                                  10   specific constitutional claims that he represents the class of “individuals desiring to speak at City

                                  11   Council meetings but who are unable to attend an seek to have their statements read into the

                                  12   record by a third party” and Ms. Alderman assertion of the class of “individuals desiring to speak
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                                  13   at City Council meetings to orally present a written statement by someone who is unable to attend

                                  14   and who has authorized another person to read his or her statement into the record.” D’s MIL

                                  15   No. 2 at 2–3 (emphasis added). The examples (but one) cited by Plaintiffs involve speakers

                                  16   advocating for others, not reading their statements.

                                  17          However, the Court permits the evidence of all City Council meetings listed here.

                                  18   Although most of these City meetings do not involve speakers attempting to read a statement on

                                  19   another individual’s behalf—and thus arguable may not be examples of “similarly situated”

                                  20   individuals to which Plaintiffs can be compared based as Plaintiffs’ claims as framed in the

                                  21   FAC—these City meetings are nonetheless relevant. They are probative of whether the City had a

                                  22   rule against reading on behalf of others and whether such a rule was regularly enforced. If there

                                  23   was no rule against speaking generally on another’s behalf, the jury might infer there was no rule

                                  24   against reading a statement on the absent party’s behalf. The jury might assume there is no

                                  25   material difference between the two. Whether such a rule existed or the rule was made up on the

                                  26   spot to single out Plaintiffs is relevant to Plaintiffs’ allegations of disparate treatment. See Fed. R.

                                  27   Evid. 402 (requiring that evidence must have a “tendency to make a fact more or less probable

                                  28   than it would be without the evidence” and that fact must be of “consequence in determining the
                                                                                          9
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                                   1   action”). The Court thus DENIES the motion in limine.

                                   2                                           V.       EXHIBITS

                                   3          Both parties have provided lists of exhibits and subsequent amendments. See Docket No.

                                   4   90 Exh. A; Docket No. 103; Docket No. 104. With regards to the responses to requests for

                                   5   admission, responses to special interrogatories, and stipulation of facts, the parties will only be

                                   6   permitted to read the evidence into the record as part of their allotted trial time. With regards to

                                   7   objections to exhibits, the Court rules as follows (appended hereto as Exhibit A).

                                   8                     VI.         PRELIMINARY STATEMENT TO THE JURY

                                   9          The parties have agreed on the following preliminary statement to the jury. See Docket

                                  10   No. 90 at 5.

                                  11                  Plaintiffs claim that, at two City of Cotati Council meetings in 2019,
                                                      Laurie Alderman was improperly prohibited from reading a
                                  12                  statement written by George Barich, which written statement the
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                                                      City included in the official record of the meeting. George Barich
                                  13                  claims that he was not properly accommodated for a hearing
                                                      disability at a City of Cotati Strategic Planning Meeting. Defendants
                                  14                  City of Cotati and former Mayor John Dell’Osso dispute Plaintiffs’
                                                      claims.
                                  15

                                  16   The Court accepts this preliminary statement.

                                  17                                  VII.      JURY INSTRUCTIONS

                                  18          The parties have both submitted proposed jury instructions. See Docket No. 99; Docket

                                  19   No. 101. The Court will address the jury instructions in a separate order. The Court intends to file

                                  20   proposed jury instructions and give the parties an opportunity to raise objections.

                                  21                                  VIII.     JURY VERDICT FORM

                                  22          The parties have both submitted proposed special verdict forms. See Docket No. 97;

                                  23   Docket No. 100. The Court has provided a proposed jury verdict form to the parties and given the

                                  24   parties an opportunity to raise objections. It has determined it will give its proposed verdict form.

                                  25                           IX.       VOIR DIRE AND QUESTIONNAIRE

                                  26          The parties have submitted joint proposed voir dire questions. See Docket No. 91. In

                                  27   addition to the standard eleven questions included in the Court’s Standing Order, the parties

                                  28   included nine case-specific questions, as follows:
                                                                                         10
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                                   1          1. How often do you attend City Council or other public agency meetings?

                                   2          2. Do you believe there should be any limits on a citizen’s right to speak during a City

                                   3              Council meeting?         Yes   No. If Yes, please explain.

                                   4          3. Do you or any of your family members or friends have a disability?         Yes    No. If

                                   5              Yes, please explain the type of disability and what types of accommodations it

                                   6              requires.

                                   7          4. Have you ever requested an accommodation under the Americans with Disabilities

                                   8              Act?    Yes     No. If Yes, please explain.

                                   9          5. Do you have any problem hearing?           Yes    No. If Yes, please explain.

                                  10          6. Do you believe that a disabled person should be able to reject a reasonable

                                  11              accommodation if they want a different accommodation?           Yes    No. If No, please

                                  12              explain.
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                                  13          7. Do you believe entities should have to offer a disabled person more than one option of

                                  14              reasonable accommodations if the person is not satisfied with the provided reasonable

                                  15              accommodation?        Yes      No. If No, please explain.

                                  16          8. Do you feel you have ever been discriminated against based upon a physical limitation

                                  17              or your age?    Yes       No. If Yes, please explain.

                                  18          9. To what extent do you agree or disagree with the following statements:

                                  19                  a. The Cotati City Council does a good job protecting the public interest.

                                  20                      (Disagree Strongly, Disagree Somewhat, Neutral/No, Agree Somewhat, Agree

                                  21                      Strongly)

                                  22                  b. I feel my community is well-represented by the Cotati City Council. (Disagree

                                  23                      Strongly, Disagree Somewhat, Neutral/No, Agree Somewhat, Agree Strongly)

                                  24   The Court accepts these questions—with the addition of the “Don’t Know” answer option in

                                  25   Question 9a and 9b—in addition to the Court’s standard questions (appended hereto as Exhibit B).

                                  26   Further, the Court intends to add the following questions:

                                  27          10. Do you have any special health concerns which would interfere with your jury service?

                                  28              If so, please explain.
                                                                                          11
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                                   1         11. This trial is expected to start on Monday, February 6, 2023, and last for one (1) week,

                                   2             plus any additional time for jury deliberations. Trial will run from 8:30 a.m. to 2:00

                                   3             p.m. except that the Monday session on February 6 will run until 4:00 p.m. There is no

                                   4             court on Thursdays. Is there any reason why serving as a juror during this period is

                                   5             impossible or extremely difficult for you? If so, please explain.

                                   6

                                   7         Any objections to these questions must be filed by 4:00 p.m., December 30, 2022.

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                                   9         IT IS SO ORDERED.

                                  10

                                  11   Dated: December 22, 2022

                                  12
Northern District of California
 United States District Court




                                  13                                                  ______________________________________
                                                                                       EDWARD M. CHEN
                                  14                                                   United States District Judge
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